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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
PROFESSIONAL FIGHTERS LEAGUE,
LLC,

                                            Plaintiff,                       24 Civ. No. 1335 (VEC) (GS)

                          -against-                                            PRE-SETTLEMENT
                                                                              CONFERENCE ORDER
TAKEOVER INDUSTRIES, INC., also
known as NXT LVL,

                                             Defendant.
-----------------------------------------------------------------X
GARY STEIN, United States Magistrate Judge:

        This action is scheduled for a Pre-Settlement Conference Call on Friday, June 21, 2024

at 11:00 a.m., to discuss the scheduling of and preparation for a Settlement Conference. The

parties are directed to consult the undersigned’s Settlement Conference Procedures, available at

https://nysd.uscourts.gov/hon-gary-stein. Counsel are directed to join the conference via

Microsoft Teams at the scheduled time. Please dial (646) 453-4442, Access Code: 417 832

223#.

        SO ORDERED.

DATED:           New York, New York
                 June 6, 2024

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                                                             The Honorable Gary Stein
                                                             United States Magistrate Judge
